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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA


    META PLATFORMS, INC.,

                                 Plaintiff,              Case No. 1:23-cv-03562-RDM

                        v.                               Judge Randolph D. Moss

    FEDERAL TRADE COMMISSION, et al.,

                                 Defendants.


          DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION TO STAY

        Defendants oppose Plaintiff’s motion to stay this litigation for 90 days. Defendants’

renewed motion to dismiss is fully briefed and pending decision. Accordingly, there is no reason

that litigation should be stayed for any period. 1

        The procedural history of this case is substantial. Since the Complaint’s filing in November

2023, the Court has heard oral argument on and denied Plaintiff’s motion for a preliminary

injunction, see Mem Op. & Order, Dkt. 31, and the parties have completed briefing on both

Defendants’ original motion to dismiss and their renewed motion to dismiss—which they filed

following a brief stay pending the Supreme Court’s then-forthcoming decision in Jarkesy v.



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 The originally named Defendants included then-Chair of the Federal Trade Commission (“FTC”)
Lina M. Khan and Commissioners Rebecca K. Slaughter and Alvaro Bedoya, sued in their official
capacities. Former Chair Khan resigned in January 2025, and former Commissioners Slaughter
and Bedoya were removed by President Donald J. Trump in March 2025. (Former Commissioners
Slaughter and Bedoya filed suit on March 27, 2025, seeking to enjoin their removals. See
Slaughter, et al., v. Trump, et al., No. 25-cv-00909-LLA (D.D.C.). Former Commissioner Bedoya
putatively resigned after summary judgment briefing was completed, and the parties are
supplementally briefing the effect of his putative resignation on the district court’s jurisdiction
over his claims. The action remains pending.) Under Fed. R. Civ. P. 25(d), former Chair Khan
and former Commissioners Slaughter and Bedoya are automatically substituted out of this action
as parties.
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Securities and Exchange Commission, 603 U.S. 109 (2024). Briefing on the renewed motion to

dismiss has been complete since October 18, 2024. See Defs.’ Reply in Supp. of Defs.’ Renewed

Mot. to Dismiss, Dkt. 43.

       On May 23, 2025, Defendants notified the Court of the United States’ change in position

as to the constitutionality of the for-cause removal protections applicable to FTC Commissioners,

15 U.S.C. § 41; Defs.’ Notice of Change in Position (“Defs.’ Notice”), Dkt. 45. But as explained

in that notice, Defendants maintain their defenses as to Plaintiff’s remaining claims on all other

grounds asserted in their pending and renewed motion to dismiss. See Defs.’ Notice at 1–2.

       Despite that fully submitted dispositive-motion briefing, Plaintiff now asks the Court to

enter a 90-day stay, citing recent developments in two separate cases—United States v. Facebook,

Inc., 19-cv-02184-TJK (D.D.C.), and Slaughter v. Trump, 25-cv-00909-LLA (D.D.C.). See Pl.’s

Mot. to Stay (“Pl.’s Mot.”) at 1, Dkt. 46. But in making that request for discretionary relief,

Plaintiff makes no attempt to meet its burden of showing any harm “if a stay does not issue[.]”

Ctr. for Biological Diversity v. Ross, 419 F. Supp. 3d 16, 20 (D.D.C. 2019). See also id. (“The

proponent of a stay bears the burden of establishing its need.” (citations omitted)). (Indeed,

nowhere in its underlying brief does Plaintiff even explain why a stay of 90 days is appropriate

here. See Mem. of Points & Auths. in Supp. of Pl.’s Mot. to Stay (“Pl.’s Br.”), Dkt. 46-1.) That

failure alone provides grounds to deny Plaintiff’s stay request.

       In fact, there is no persuasive argument that staying this matter would prevent hardship or

promote judicial economy. See Ctr. for Biological Diversity, 419 F. Supp. 3d at 22 (“The final

factor to be considered is whether a stay would promote efficient use of the parties’ and the court’s

resources.”). A stay would have no effect on the parties’ use of resources at this point, when

briefing on Defendants’ renewed motion to dismiss has been complete since October 2024, without



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any request or proposal for additional briefing. All that remains is the Court’s forthcoming

decision on that motion.

       Instead of pointing to any hardship or inequity attributable to continued litigation, Plaintiff

suggests that “Facebook has the potential to moot this action, and Slaughter has the potential to

clarify which Defendants are before the Court in this action and their current legal positions.” Pl.’s

Br. at 1. Neither suggestion, however, warrants a stay.

       As to the first argument, Plaintiff indicates with no elaboration that it “intends to argue on

remand that the D.C. Circuit’s holding” requires Judge Kelly in Facebook to “enjoin the

administrative proceeding in which the FTC seeks to modify the attachment.” Pls.’ Br. at 2. But

the D.C. Circuit’s decision does not compel Judge Kelly to do what Plaintiff suggests: in reversing

and remanding the district court’s dismissal on jurisdictional grounds, the D.C. Circuit did not

opine on the merits of Facebook’s underlying motion to enforce the 2020 Stipulated Order and

Attachment A. See United States v. Facebook, Inc., 136 F.4th 1129, 1135 (D.C. Cir. 2025) (“Since

the district court’s dismissal on jurisdictional grounds meant that it never reached the merits, we

reverse and remand so that it may consider Facebook’s claims in the first instance.”). And even if

Plaintiff intends to ask the district court in Facebook to enjoin the FTC’s administrative proceeding

against it on constitutional grounds, those are precisely the claims it has raised in this action—

which are pending, and fully briefed, before this Court. See Complaint (“Compl.”) ¶ 17, Dkt. 1

(“While Meta . . . believes the Commission has evaded Judge Kelly’s continuing exclusive

jurisdiction over the 2020 Order, this Complaint challenges only the structural unconstitutionality

of the Commission and the FTC Proceeding against Meta.”); Defs.’ Renewed Mot. to Dismiss

(“Renewed MTD”) at 1, Dkt. 38 (seeking dismissal of Plaintiff’s due process, Article II, and

nondelegation claims). In other words, Plaintiff has not demonstrated that “the [Facebook]



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proceedings may be persuasive as to certain issues relevant to this Court’s” adjudication of

Plaintiff’s constitutional challenge to the FTC’s administrative proceedings. Hulley Enters. Ltd.

v. Russian Fed’n, 502 F. Supp. 3d 144, 154 (D.D.C. 2020). To the contrary, this Court’s resolution

of the issues before it would likely assist the Facebook proceedings, and possibly even narrow the

issues to be briefed and argued on remand.

       Likewise, Plaintiff has not shown that district court proceedings on remand in Facebook

are likely to eliminate its cause of action here or lead to inconsistent rulings, much less before this

Court has ruled on Defendants’ fully briefed and renewed motion to dismiss. Cf. id. at 154–55

(stay was appropriate where international forum’s resolution may obviate the district court’s

jurisdiction, and therefore, the cause of action). See also SEC v. Deloitte Touche Tohmatsu CPA

Ltd., 940 F. Supp. 2d 10, 14 (D.D.C. 2013) (denying extension of stay based in part because “the

final decisions emanating from both [another district court] and this Court would both be resolved

by the same decision-maker, our Court of Appeals”). Indeed, Plaintiff’s request to stay these

proceedings ignores the resources that this Court has already devoted to resolving this case,

including hearing oral argument on the merits of Plaintiff’s motion for preliminary injunctive

relief, and considering, once before, Defendants’ arguments that have now been renewed.

       Plaintiff’s second argument fares no better. Its suggestion that a stay is warranted because

the outcome of Slaughter “may clarify which Defendants are before this Court[,]” Pl.’s Br. at 3, is

immaterial. Plaintiff’s “lawsuit against a government official in his official capacity is an action

against the governmental entity of which the official is an agent.” Wilburn v. Robinson, 480 F.3d

1140, 1148 (D.C. Cir. 2007); compare Compl. ¶¶ 20–22 (alleging claims against the individual

commissioners in their official, not individual, capacities), with Pl.’s Br. at 3 (conceding that

Slaughter and Bedoya challenge their removals in Slaughter in their individual capacities). See



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also Fed. R. Civ. P. 25(d) (“The officer’s successor is automatically substituted as a party.”). And

because named Defendants Slaughter and Bedoya were automatically substituted out of this

litigation following their removals from the Commission under Fed. R. Civ. P. 25(d), see supra

n.1, the eventual outcome of their ongoing litigation challenging their removals will have no say

in determining “which Defendants are before this Court[,]” Pl.’s Br. at 3.

       Plaintiff also suggests that Slaughter might somehow “shed further light on the parties’

current positions on issues that overlap[.]” Id. That is not persuasive either. Slaughter does not

implicate a majority of the constitutional claims—due process, nondelegation, Article III, and

Seventh Amendment—at issue here. And even as to the overlapping Article II claims, Plaintiff

has not suggested that it has changed its position in light of the Government’s position in Slaughter.

See id. at 3 n.1 (reiterating their previously submitted argument that “Meta already has

demonstrated that the government’s fallback arguments regarding severability and causation lack

merit” (citing Dkt. 20 at 29–30; Dkt. 24 at 1–4)). Likewise, Defendants have already clarified—

consistent with the Government’s briefing in Slaughter—that they should nonetheless prevail on

Plaintiff’s Article II claim because (1) properly appointed Commissioners have “the authority to

carry out the functions of the office”; (2) Plaintiff has not shown that “the President’s inability to

fire an agency head affected the complained-of decision”; and (3) the remedy to improper removal

would only require severance of the offending removal provision. See Defs.’ Notice at 1–2

(quoting Collins v. Yellen, 594 U.S. 220, 258 (2021) and Cmty. Fin. Servs. Ass’n of Am., Ltd. v.

CFPB, 51 F.4th 616, 632 (5th Cir. 2022)). Put simply, the Court need not wait to see whether a

later-filed case—filed by former Commissioners Slaughter and Bedoya, as plaintiffs in their

individual capacities—should govern here. The parties’ positions on the constitutional issues

pending before the Court are clear and have long been fully submitted.



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       For all of those reasons, the Court should deny Plaintiff’s motion to stay this case.



Dated: June 20, 2025                                 Respectfully submitted,

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